                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:12-00076
                                                    )       JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                            )

                                             ORDER

         Pending before the Court is Defendant Megan Johnson’s Second Motion to Reset Status

Conference (Docket No. 173) currently scheduled for March 8, 2013. The Motion is GRANTED.

         The status conference is RESCHEDULED for March 11, 2013, at 9:00 a.m.

         It is so ORDERED.



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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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